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                                                                              U.S. DISTRICT
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                 IN THE UNITED STATES DISTRICT COURT                       CL ERK
                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                               So 01ST OF GA.
                          SAVANNAH DIVISION

VERNE S SA CUNNINGHAM

             Plaintiff,
                                                    CIVIL ACTION
                                                    FILE NO.
V.
                                                               C V410-269
ZWICKER & ASSOCIATES, PC

             Defendant.


                               NATURE OF ACTION

       1.    This is an action brought under the Fair Debt Collection Practices Act

("FDCPA"), 15 U.S.C. § 1692 etseq.

                             JURISDICTION AND VENUE

              This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C.

§ 1331.


       3.     Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),

where the acts and transactions giving rise to Plaintiffs action occurred in this

district, (where Plaintiff resides in this district), and/or where Defendant transacts

business in this district.

                                     PARTIES

       4.     Plaintiff, Vernessa Cunningham ("Plaintiff'), is a natural person who
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at all relevant times resided in the State of Georgia, County of Chatham, and City

of Pooler.

      5.     Plaintiff is a "consumer" as defined by 15 U.S.C. § 1692a(3).

      6.     Defendant, Zwicker & Associates, PC ("Defendant") is an entity who

at all relevant times was engaged, by use of the mails and telephone, in the

business of attempting to collect a "debt" from Plaintiff, as defined by 15 U.S.C.

§1692a(5).

      7.     Defendant is a "debt collector" as defined by 15 U.S.C. § 1692a(6).

                          FACTUAL ALLEGATIONS

      8.     Plaintiff is a natural person obligated, or allegedly obligated, to pay a

debt owed or due, or asserted to be owed or due a creditor other than Defendant.

      9.     Plaintiffs obligation, or alleged obligation, owed or due, or asserted to

be owed or due a creditor other than Defendant, arises from a transaction in which

the money, property, insurance, or services that are the subject of the transaction

were incurred primarily for personal, family, or household purposes. Plaintiff

incurred the obligation, or alleged obligation, owed or due, or asserted to be owed

or due a creditor other than Defendant.

       10. Defendant uses instrumentalities of interstate commerce or the mails

in a business the principal purpose of which is the collection of any debts, and/or
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regularly collects or attempts to collect, directly or indirectly, debts owed or due,

or asserted to be owed or due another.

       11.   Defendant used unfair or unconscionable means against Plaintiff in

connection with an attempt to collect a debt.

       12.   A trial in the case that Defendant had filed against Plaintiff in

connection with the underlying debt was scheduled for July 19, 2010.

       13.   On or about July 7, 2010, Defendant sent to Plaintiff a Motion for

Continuance of the Trial which Defendant deliberately did not file with the Court.

       14.   Plaintiff, a least sophisticated consumer unfamiliar with court

proceedings, assumed that the trial in her case was not going forward at the

scheduled time as a result of Defendant's Motion.

       15.   Defendant, however, deliberately did not file the Motion with the

Court and instead proceeded to appear in court on July 19th and procured a

judgment against the Plaintiff based on her failure to appear at the trial. ( 16920).

       16.   Defendant used false, deceptive, or misleading representations or

means in connection with collection of a debt, actions which would have led the

least sophisticated consumer and in fact did lead Plaintiff to believe that the trial

was not going forward on the scheduled date and time and/or that the documents

were legal pleadings when they were not, and/or were not legal pleadings when
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they were. ( 1692e, e(13), e(15)).

         17, Defendant failed to disclose the caller's individual identity or

Defendant's true corporate or business name in a telephone call to Plaintiff

         18.   Defendant failed to notify Plaintiff during each collection contact that

the communication was from a debt collector.

         19.   On multiple occasions, Defendant's collectors made collection calls to

the Plaintiff, and either left messages for Plaintiff which did not disclose their

identity or the fact that they were calling in an attempt to collect a debt, or simply

hung up without leaving any message, and therefore failed to disclose their identity

or the fact that they were calling in an attempt to collect a debt ( 1 692d(6)) and (

1692e(l 1)).

         20.   Defendant's actions constitute conduct highly offensive to a

reasonable person, and as a result of Defendant's behavior Plaintiff suffered and

continues to suffer injury to Plaintiffs feelings, personal humiliation,

embarrassment, mental aguish andlor emotional distress.

                                       COUNT!

         21.   Plaintiff repeats and re-alleges each and every allegation contained

above.

         22. Defendant violated the FDCPA as detailed above.
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WHEREFORE, Plaintiff prays for relief and judgment, as follows:

      a) Adjudging that Defendant violated the FDCPA;

      b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,

         in the amount of $1000.00;

      c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. § 1692k;

      d) Awarding Plaintiff reasonable attorneys' fees ands costs incurred in

         this action;

      e) Awarding Plaintiff any pre-judgment and post-judgment interest as

         may be allowed under the law;

      t) Awarding such other and further relief as the Court may deem just and

         proper.

                             TRIAL BY JURY

23.             Plaintiff is entitled to and hereby demands a trial by jury.
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This     day of November, 2010.

                                        ATTORNEYS FOR PLAINTFF
                                        VERNESSA CUNNINGHAM

                                        Respectfully submitted,


                                        Dennis R. Kurz
                                        Georgia Bar No. 430489
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                           SAVANNAH DIVISION

VERNESSA CUNINGHAM

              Plaintiff,
                                                 CIVIL ACTION
                                                 FILE NO.

ZWICKER & ASSOCIATES, PC

              Defendant.


        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

       The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Southern District of Georgia, using a font type of Time New Roman and

a point size of 14.

                                           Respectfully submitted,

                                                           ...
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